                                        UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF ARIZONA

                                                         Minute Entry
Hearing Information:
                         Debtor:   TIFFANY WHITE
                  Case Number:     2:18-BK-03224-MCW              Chapter: 13

          Date / Time / Room:      THURSDAY, AUGUST 30, 2018 01:30 PM 7TH FLOOR #702

         Bankruptcy Judge:         MADELEINE C. WANSLEE
               Courtroom Clerk:    CHRISTINA JOHNSON
                Reporter / ECR:    MICHELLE RADICKE-STEVENSON                                                                0.00


Matters:
       1) TRUSTEE'S JOINDER IN CREDITOR MICHAEL JAGODA'S MOTION TO DISMISS
              R / M #:   81 / 0

       2) ARIZONA BOARD OF ACCOUNTANCY'S OBJECTION TO CONFIRMATION OF ORIGINAL CHAPTER 13 PLAN
              R / M #:   54 / 0


Appearances:

        CHRISTOPHER J. DYLLA, ATTORNEY FOR ARIZONA BOARD OF ACCOUNTANCY, DEPARTMENT OF
        REVENUE
        MARY B. MARTIN, ATTORNEY FOR EDWARD J. MANEY
        DEBORAH VARNEY, ATTORNEY FOR MICHAEL JEROME JAGODA

Proceedings:                                                                                                          1.00

        #1 and #2

        The court noted Ms. White is not present.

        Ms. Martin stated she has not had communications with Ms. White. She advised the debtor has failed to maintain
        domestic obligations, plan payments are delinquent, and it appears that the debtor does not have regular income
        as is required. She stated her argument noting the plan does not appear to be feasible. Ms. Martin stated the last
        payment received by the trustee was in early August.

        Ms. Varney stated her position confirming that the debtor has failed to make domestic support obligations and
        child support payments pursuant to state court order. She discussed pending litigation in criminal court. Ms.
        Varney urged the case be dismissed and in event the debtor files a new case, this court be reassigned.

        Mr. Dylla stated the debtor has failed to file required state income tax returns for 2016 and 2017, and he urged
        the case be dismissed or converted. He confirmed the debtor is not employed as there are no reported wages
        under debtor's social security number.

        COURT: FOR ALL OF THE REASONS STATED ON THE RECORD, THE COURT DOES FIND AND
        CONCLUDE THAT THERE IS CAUSE TO DISMISS THIS CASE AND THEREFORE IT IS ORDERED
        DISMISSING THIS CASE. IT IS ORDERED GRANTING THE SPEAKING MOTION BY MS. VARNEY. TO
        THE EXTENT THE DEBTOR FILES ANOTHER CASE IN THIS DISTRICT AND IT GETS ASSIGNED TO A
        DIFFERENT JUDGE, THE CASE WILL BE REASSIGNED TO THIS JUDGE. MS. MARTIN WILL LODGE A
        FORM OF ORDER.

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